          Case 1:18-cv-12280-MPK Document 7 Filed 11/07/18 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                                 OF MASSACHUSETTS
                                    Boston Division

__________________________________
ELLEN MARIE CHRISTENSEN,            )
individually and on behalf of others) Civil Action No. 1:18-cv-12280-MPK
similarly situated,                 )
                                    )
      Plaintiff,                    )
                                    )
      v.                            )
                                    )
BARCLAYS BANK DELAWARE              )
and                                 )
STILLMAN LAW OFFICE, LLC,           )
                                    )
      Defendants.                   )
___________________________________ )

 [PROPOSED] ORDER GRANTING DEFENDANT BARCLAY BANK DELAWARE’S
                 MOTION TO COMPEL ARBITRATION

        Upon consideration of Defendant Barclay Bank Delaware’s Motion to Compel

Arbitration and Plaintiff’s opposition thereto, it is

        ORDERED that the Motion to Compel Arbitration be, and the same hereby is,

GRANTED. This case will be stayed and administratively closed while the parties pursue

arbitration regarding Plaintiff’s individual claims only. The parties shall notify the Court when

the arbitration has been concluded and indicate whether either party seeks any further relief.

Plaintiff’s putative class claims are dismissed with prejudice.

DATED: ____________

                                                        ___________________________________
                                                        JUDGE




                                                   1
